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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

            Plaintiff,
                                          Case No. 11-CR-20540-04
 v.
                                          HON. GEORGE CARAM STEEH
 MUHAMMAD AHMAD,

          Defendant.
 ____________________________/

               ORDER DENYING DEFENDANT’S MOTION
               TO TERMINATE PROBATION [ECF NO. 740]

      For approximately three years, from 2008 to 2011, defendant

 Muhammad Ahmad conspired with others to commit health care fraud in

 violation of 18 U.S.C. § 1349. Ahmad and his co-conspirators billed

 Medicare under a fraudulent scheme for services that were medically

 unnecessary and/or never rendered. Ahmad and his co-conspirators

 created shell companies which they used to conceal and disguise the

 proceeds of the health care fraud scheme. On June 6, 2012, Ahmad

 entered a plea of guilty to conspiracy to commit health care fraud and

 money laundering. On August 1, 2016, Ahmad was sentenced to 68

 months imprisonment followed by a three-year term of supervised release.

 Ahmad has completed his term of imprisonment and was released on

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 September 9, 2020. He has now served approximately one year of his

 supervised release. The matter is before the Court on Ahmad’s motion to

 terminate his term of supervision.

       Ahmad describes his self-improvement since his incarceration,

 including continued education in project management, as well as giving

 back to his community by engaging in volunteer work. He also makes

 monthly payments toward his restitution. Ahmad states that he seeks early

 termination from the terms of his supervised release so he can obtain

 better employment that might require travel. He refers generally to

 employment opportunities in project management that would come with

 increased pay which would allow him to better provide for his family.

 Ahmad includes letters of support from his employer at Sunny Oil, an Iman

 at Masjid Taqwa where he engages in volunteer work, and a family friend.

       By all accounts shared by Ahmad, he is doing what he is supposed to

 be doing under the terms of his supervised release. He describes a

 successful rehabilitation effort, and he appears to be thriving and moving in

 a positive direction. However, having completed just one third of his

 supervision, and there being no extenuating circumstances that warrant

 early termination, there is insufficient basis to terminate supervision at this

 time. Mr. Ahmad should continue on his current path and may seek relief

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 again in the future, after he has completed a larger portion of his term of

 supervised release.

       It is so ordered.

 Dated: September 29, 2021

                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE




                                CERTIFICATE OF SERVICE

                 Copies of this Order were served upon attorneys of record on
                  September 29, 2021, by electronic and/or ordinary mail and
                    also on Muhammad Ahmad, 4252 Crystal Creek Drive,
                                      Ypsilanti, MI 48197.

                                         s/B Sauve
                                        Deputy Clerk




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